                    Case 19-62482-lrc                   Doc 1           Filed 08/08/19 Entered 08/08/19 13:24:46                           Desc
                                                                        Petition Page 1 of 10
     Fill in this information to identify the case:

     Nn
     U'ted Itqtes Bankruptcy Court for the: 0A
.       will eft1              District of
                                             (Stale)
     Case number (If known):                                     Chapter /1                                                                   L:1 Check if this is an
                                                                                                                                                  amended filing




    Official Form 201                 19 62482
    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/19

    If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
    number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




    1. Debtor's name                                   ALANI                 POPERTI Sour& C-E                                e-0 1

    2. All other names debtor used
       in the last 8 years
       Include any assumed names,
       trade names, and doing business
       as names




    3. Debtor's federal Employer
       Identification Number (EIN)
                                                   iL -' 1               -
                                                                             lfL
    4. Debtor's address                          Principal place of business                                  Mailing address, if different from principal place
                                                                                                              of business

                                                 7169 rrasi,cr
                                                 Number        Street
                                                                                                ,c6
                                                                                                              Number      Street



                                                                                                              P.O. Box

                                                  /144,-64-0.                            3 00 670
                                                 City                            State      ZIP Code          City                        State      ZIP Code


                                                                                                              Location of principal assets, if different from
                                                                                                              principal place of business

                                                 County
                                                       CcA9
                                                                                                              Number      Street




                                                                                                              City                        State      ZIP Code




    5. Debtor's website (URL)


                                                 EKorporation (including Limited Liability Company (LIC) and Limited Liability Partnership (LLP))
    6. Type of debtor
                                                 U Partnership (excluding     LLP)
                                                 D Other. Specify:


    Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                              page 1
                   Case 19-62482-lrc          Doc 1           Filed 08/08/19 Entered 08/08/19 13:24:46                                     Desc
                                                              Petition Page 2 of 10
Debtor                                                                                              Case number of known)
                 Name


                                        A. Check one:
7.    Describe debtor's business
                                        0 Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        D Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        0 Railroad (as defined in 11 U.S.C. § 101(44))
                                        D Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        0 Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        ZVlearing Bank (as defined in 11 U.S.C. § 781(3))
                                        El None of the above

                                        B. Check all that apply:

                                        0 Tax-exempt entity (as described in 26 U.S.C. § 501)
                                        CI Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                           § 80a-3)
                                        0 Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.qov/four-diqit-national-association-naics-codes .



8. Under which chapter of the           Check one:
   Bankruptcy Code is the
   debtor filing?                       D Chapter 7
                                        0 9hapter 9
                                        ZWChapter 11. Check all that apply:
                                                                   Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                  insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                                  4/01/22 and every 3 years after that).
                                                             tr    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                  debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                  of operations, cash-flow statement, and federal income tax return or if all of these
                                                                  documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                                  A plan is being filed with this petition.

                                                                  Acceptances of the plan were solicited prepetition from one or more classes of
                                                                  creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             LI   The debtor is required to file periodic reports (for example, 10K and 100) with the
                                                                  Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                  Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                  for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             0    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                  12b-2.
                                        0 Chapter 12
9. Were prior bankruptcy cases          ati No
   filed by or against the debtor
   within the last 8 years?             0 Yes.    District                                   When                      Case number
                                                                                                    MM/ DD / YYYY
      If more than 2 cases, attach a
      separate list.                              District                                  When                       Case number
                                                                                                    MM/ DD / YYYY

10. Are any bankruptcy cases            ErNo
    pending or being filed by a
    business partner or an                 Yes. Debtor                                                                  Relationship
    affiliate of the debtor?                      District                                                             When
      List all cases. If more than 1,                                                                                                  MM / DD   / YYYY
      attach a separate list.                     Case number, if known


     Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 2
                 Case 19-62482-lrc            Doc 1           Filed 08/08/19 Entered 08/08/19 13:24:46                              Desc
                                                              Petition Page 3 of 10
Debtor
               Name
                                taitA-Kr, S 0 01205                                          Case number Of known)



it Why is the case filed in this        Check all that apply:
   district?
                                        ErFebtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                           district.

                                        CI A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have Et<
    possession of any real        CI Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                  Why does the property need immediate attention? (Check all that apply.)
    attention?
                                          CI It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?

                                                 Li   It needs to be physically secured or protected from the weather.

                                                 Li   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                 Li   Other



                                                 Where is the property?
                                                                            Number         Street



                                                                            City                                            State      ZIP Code


                                                 Is the property insured?
                                                 1:1 No
                                                 0 Yes. Insurance agency

                                                           Contact name

                                                           Phone



           Statistical and administrative information


13.Debtor's estimation of               Check one:
   available funds                          5inds will be available for distribution to unsecured creditors.
                                        PWAfter any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                        U"ri-49                           0 1,000-5,000                              D 25,001-50,000
14.Estimated number of                  0 50-99                           0 5,001-10s=                                  50,001-100,000
   creditors
                                        CI 100-199                        0 10,001-25,000                            CI More than 100,000
                                        GI 200-999

                                            $0-$50,000                       $1,000,001-$10 million                    $500,000,001-$1 billion
15.Estimated assets                        ;50,0014100,000                Li $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                        W1100,0014500,000
                                         -                                   $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                        Li $500,001-$1 million            Li $100,000,001-$500 million               U More than $50 billion




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
               Case 19-62482-lrc               Doc 1         Filed 08/08/19 Entered 08/08/19 13:24:46                                        Desc
                                                             Petition Page 4 of 10
Debtor                                                                                          Case number (iricnomi)
             Name


                                             $0-$50,000                     •   $1,000,001-$10 million                    •   $500,000,001-$1 billion
16. Estimated liabilities
                                        D $50,001-$100,000                      $10,000,001-$50 million                   •   $1,000,000,001-$10 billion
                                        atf100,001-$500,000                 •   $50,000,001-$100 million                  •   $10,000,000,001-$50 billion
                                        D $500,001-$1 million               •   $100,000,001-$500 million                 O   More than $50 billion



           Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571,


17. Declaration and signature of        in   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of
                                             petition.
    debtor

                                        a    I have been authorized to file this petition on behalf of the debtor.

                                        a    I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.

                                             Executed on
                                                            MM


                                                         L(21
                                             Signature of authorized representative of debtor
                                                                                                          (16,joel /?, leci f fAaccei.)
                                                                                                          Printed name Li
                                                                                                                              u              (      S'

                                             Title




18. Signature of attorney
                                                                                                          Date
                                             Signature of attorney for debtor                                            MM    / DD / YYYY




                                             Printed name


                                             Firm name


                                             Number         Street


                                             City                                                              State              ZIP Code



                                             Contact phone                                                     Email address




                                             Bar number                                                        State




  Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                      page 4
                      Case 19-62482-lrc                     Doc 1           Filed 08/08/19 Entered 08/08/19 13:24:46                                 Desc
  Fill in this information to identify the case:
                                                                            Petition Page 5 of 10

  Debtor name       fr /..4v1           reA          We& C6 at li te
  United States Bankruptcy Court for the:     NOOrWAW     District of GYV
                                                                                         (State)
  Case number (If known):
                                                                                                                                                     CI Check if this is an
                                                                                                                                                         amended filing
  Official Form 206D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12115

  Be as complete and accurate as possible.


 1. Do any creditors have claims secured by debtor's property?
    0 No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
    C3 Yes. Fill in all of the information below.
                List Creditors Who Have Secured Claims

 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one                           Column A                Column B
    secured claim, list the creditor separately for each claim.                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
      Creditor's name                                           Describe debtor's property that is subject to a lien
                4Z -       RAO          /lea 1-                      n    /024      DO 4 9     aal     / k    it                $   Ii( ,0   0 0             ?-ooi oob
      Creditor's mailing address

          3/9 6. FRAkiiiVr
        _iary.‘(//i.1-.1 P4 f6igy                               Describe the lien
                                                                                        mo w.r(ouNCAC- i.,014&/
      Creditor's email address, if known                        Is the creditor an insider or related party?

                                                                 O Yes
      Date debt was incurred                                    Is anyone else liable on this claim?
      Last 4 digits of account
                                                                at-No
      number
                                                                U Yes. Fill out Schedule Ft: Codebtors (Official Form 206H).
      Do multiple creditors have an interest in the             As of the petition filing date, the claim is:
      same property?                                            Check all that apply.
      IH-No                                                      O Contingent
      Li Yes. Specify each creditor, including this creditor,   LI Unliquidated
              and its relative priority.                        Ert5isputed



Ein   Creditor's name                                           Describe debtor's property that is subject to a lien
            63:1      ft ad•-ct                                          /21/f im.<41-3              ,4v e_                     $      /1 -5-.6 60       $     /3ro
       Creditor's mailing address                                    A1,10,A-0. c94                3011a
        _+4u5vi f r6s-nvk 91-                                   Describe the lien
                                                                                                              1-0 ON"
      Creditor's email address, if known                        1p.e--creditor an insider or rel3ated party?
                                                                   No
                                                                O Yes
      Date debt was incurred                                    Is a  one else liable on this claim?
                                                                    No
      Last 4 digits of account
      number                        2 6 q_q                      LI Yes. Fill out Schedule H: Codebtors (Official Form 206H).

      Do multiple creditors have an interest in the             As of the petition filing date, the claim is:
      same property?                                            Check all that apply.
      LI No                                                      13 Conti gent
      0 Yes. Have you already specified the relative             •          iquidated
             priority?                                                   Disputed
         LI No. Specify each creditor, including this
                  creditor, and its relative priority.


          0 Yes. The relative priority of creditors is
                   specified on lines

i 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional
     Page, if any.


      nffirial Form   9n1tn                        Srharhilafl r.rarlitorc Who Wawa rlaimc qaruirrarl h, Prnriorki                                           nana 1 of
                      Case 19-62482-lrc                     Doc 1      Filed 08/08/19 Entered 08/08/19 13:24:46                                    Desc
  Debtor
                   Name
                                                                       Petition Page 6 of 10Case number (if known)

                                                                                                                              Column A                Column B
 Part 1:        Additional Page                                                                                               Amount of claim         Value of collateral
                                                                                                                              Do not deduct the value that supports this
                                                                                                                              of collateral.           claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2._ Creditor's name                                           Describe debtor's property that is subject to a lien




     Creditor's mailing address



                                                              Describe the lien


    Creditor's email address, if known                        Is the creditor an insider or related party?
                                                              0 No
                                                              O Yes


    Date debt was incurred                                     Is anyone else liable on this claim?
                                                               O No
    Last 4 digits of account
                                                               CI Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    number

    Do multiple creditors have an Interest in the              As of the petition filing date, the claim is:
    same property?                                             Check all that apply.

     O No                                                      O    Contingent
     O Yes. Have you already specified the relative            •    Unliguidated
            priority?                                          O    Disputed

           U   No. Specify each creditor, including this
                   creditor, and its relative priority.




           O   Yes. The relative priority of creditors is
                   specified on lines


    Creditor's name                                           Describe debtor's property that is subject to a lien




     Creditor's mailing address



                                                              Describe the lien


     Creditor's email address, if known                        Is the creditor an insider or related party?
                                                               O    No
                                                               O    Yes

     Date debt was incurred                                    Is anyone else liable on this claim?
                                                               O No
     Last 4 digits of account
                                                               O Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number

     Do multiple creditors have an interest in the             As of the petition filing date, the claim is:
     same property?                                            Check all that apply.

     LI No                                                     CI Contingent
                                                               •  LInliquidated
     •     Yes. Have you already specified the relative
                priority?                                      O Disputed

           O No. Specify each creditor, including this
                 creditor, and its relative priority.




           O   Yes. The relative priority of creditors is
                   specified on lines



  Official Form 2060                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page       of
                 Case 19-62482-lrc                Doc 1       Filed 08/08/19 Entered 08/08/19 13:24:46                                   Desc
                                                              Petition Page 7 of 10
Debtor                                                                                          Case number (if known)
               Name



Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

         Name and address                                                                                      On which line in Part 1     Last 4 digits of
                                                                                                               did you enter the           account number
                                                                                                               related creditor?           for this entity


                                                                                                               Line 2.




                                                                                                               Line 2.




                                                                                                               Line 2.




                                                                                                               Line 2.




                                                                                                               Line 2.




                                                                                                               Line 2.




                                                                                                               Line 2.




                                                                                                               Line 2.




                                                                                                               Line 2.




                                                                                                               Line 2.




                                                                                                               Line 2.




                                                                                                               Line 2.




                                                                                                               Line 2,




                                                                                                               Line 2.



Form 206D                         Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                page       of
   Case 19-62482-lrc     Doc 1   Filed 08/08/19 Entered 08/08/19 13:24:46   Desc
                                 Petition Page 8 of 10


                                  LIST OF CREDITORS




BSI FINANCIAL SERVICES
314 S. FRANKLIN STREET
SECOND FLOOR
TITUSVILLE, PA 16354
       Case 19-62482-lrc   Doc 1   Filed 08/08/19 Entered 08/08/19 13:24:46   Desc
                                   Petition Page 9 of 10


U. S. BANKRUPTCY COURT / NORTHERN DISTRICT OF GEORGIA / ATLANTA DIVISION

RECEIPT #01257761 (RS) OF 08/08/2019


ITEM    CODE    CASE           QUANTITY                       AMOUNT   BY

   1     11IN   19-62482              1                       $ 0.00   Currency
                Judge - unknown at time of receipt
                Debtor - ALANI PROPERTY SOURCE CO., INC.


TOTAL:                                                        $ 0.00


FROM: Alani Property Source Co., Inc.
      716 Frasier Cir SE
      Marietta, GA 300




                                     Page 1 of 1
                   Case 19-62482-lrc               Doc 1       Filed 08/08/19 Entered 08/08/19 13:24:46                                 Desc
                                                              Petition Page 10 of 10
   Case Number: 19-62482                            Name: Alani                                                               Chapter: 11

P ease submit the following original documents to the Court for filing so that the case will proceed timely. If you would like to have a filed-
stamped copy of the documents, please submit an extra copy along with a self-addressed stamped envelope.

N Individual - Series 100 Forms                                                              O Non-Individual - Series 200 Forms

MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                          Petition Deficiencies:
0 Complete List of Creditors (names and addresses of all creditors)                          0 Last 4 digits of SSN
El Pro Se Affidavit (due within 7 days, signature must be notarized,                         El Address 0 County
or witnessed by a Court Intake Clerk, accompanied by a picture ID.)                          CI Type of Debtor
IQ Signed Statement of SSN (due within 7 days)                                               O Chapter
                                                                                             CI Nature of Debts
 MISSING DOCUMENTS DUE WITHIN 14 DAYS                                                        O Statistical Estimates
 .
   0 Statement of Financial Affairs                                                          O Venue
      Schedules: A/B E/ F 0 H                                                                O Attorney Bar Number
      Summary of Assets and Liabilities
  EZI Declaration About Debtor(s) Schedules
                                                                                                                        Case filed via:
  CI Attorney Disclosure of Compensation
                                                                                                El Intake Counter by:
  O Petition Preparer's Notice, Declaration and Signature (Form 119)
                                                                                                    El Attorney
  O Disclosure of Compensation of Petition Preparer (Form 2800)
                                                                                                    O Debtor - verified ID
   El Chapter 13 Current Monthly Income
                                                                                                     IZ Other - copy of ID: Wendell Anthony Robinson
  Li Chapter 7 Current Monthly Income                                                           404-551-0084
  Cl Chapter 11 Current Monthly Income
  Lir Cert ificate of Credit Counseling (Individuals only)                                       0 Mailed by:
 0 Pay Advices (Individuals only) (2 Months)                                                        0 Attorney
 'D Chapter 13 Plan, complete with signatures (local form)                                          El Debtor
  NI Corporate Resolution (Business Ch. 7 & 11)                                                     O Other:

 Ch.11 Business                                                                                              History of Case Association
 El 20 Largest Unsecured Creditors
 CI List of Equity Security Holders                                                             Prior cases within 2 years: n/a
 El Small Business - Balance Sheet
 IZ Small Business - Statement of Operations
    Small Business - Cash Flow Statement                                                        Signature:
 El Small Business - Federal Tax Returns                                                        Acknowledgment of receipt of check list

 MISSING DOCUMENTS DUE WITHIN 30 DAYS
 d Statement of Intent — Ch. 7 (Individuals only)
Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov. If filing bankruptcy without an
attorney, please read the information regarding Filing Bankruptcy without an Attorney at: www.uscourts.gov/services-forms/bankruptcy/filing-
without-attorney.

FILING FEE INFORMATION - if the required filing fees are not paid in full at the time of case filing, an Order will be forthcoming:
         Paid $ 0     2g-Order Granting          0 3g-Order Granting 10 days ($75 due within 10 days)
         III 2d-Order Denying with filing fee of $_____ due within 10 days                 I:1 IFP filed (Ch.7 Individuals Only)
         El No Application to Pay in Installments, Order Regarding Unpaid Case Filing Fee.

                  You may mail documents and filing fee payments (no personal checks accepted - cashier's check or money orders only to the address below.
                           All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                    **Failure to Comply may result in the dismissal of your case.**
                                                        UNITED STATES BANKRUPTCY COURT
                                                          75 Ted Turner Drive, SW, Room 1340
                                                                 Atlanta, Georgia 30303
                                                                     404-215-1000

Intake Clerk: R.Smith                       Date: 8/8/19                       Case Opener:                                          Date:
